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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF COLORADO
                    The Honorable Michael E. Romero


 In re:
                                          Case No. 19-18000 MER
 STEVEN JAMES CHAVEZ
                                          Chapter 11
     Debtor.

                      ORDER TO FILE STATUS REPORT

        THIS MATTER comes before the Court sua sponte. The Court has
conducted a preliminary review of the file and has determined that, in lieu of an
initial status conference with the Court, a status report should be filed by the
Debtor to inform the Court of the particulars of this Chapter 11 case.
Accordingly,

        IT IS ORDERED that, on or before October 16, 2019, the Debtor shall
file a brief report with the Court which includes the following:

      1.    The nature of the Debtor’s financial condition and the circumstances
which precipitated the filing of this bankruptcy proceeding.

      2.     The Debtor’s insurance coverage, tax liability, and other matters
pertinent to the Debtor’s reorganization;

        3.    The Debtor’s operating financial projections for the period preceding
the filing of a plan, a budget for the professionals in the case and any
particularities of the case which require resolution;

      4.     A proposed schedule for the filing of any required amended
schedules, a disclosure statement, plan of reorganization, a bar date for filing
proofs of claims and objections to claims and, if applicable, anticipated
avoidance actions or other adversary proceedings which are critical to the
reorganization.

     IT IS FURTHER ORDERED that Rules 9014 and 9016, Federal Rules of
Bankruptcy Procedure, are applicable to this case.

DATED September 19, 2019                    BY THE COURT:


                                           __________________________
                                             Michael E. Romero, Chief Judge
                                             United States Bankruptcy Court
